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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

TIFFANY A.,1                                    )
                                                )
        Plaintiﬀ,                               )
                                                )       No. 22 C 50221
v.                                              )
                                                )       Magistrate Judge Laura K. McNally
MARTIN O’MALLEY,                                )
Commissioner of Social Security, 2              )
                                                )
        Defendant.                              )

                                         ORDER 3
     Before the Court is Plaintiﬀ Tiﬀany A.’s memorandum in support of summary

judgment, asking the Court to remand the Administrative Law Judge’s (“ALJ”) decision

denying her applications for disability beneﬁts (D.E. 14: Pl. Mem. in Support of Summ,

J., “Pl. Mem.”) and Defendant’s response in support of summary judgment (D.E. 20:

Def. Mot. for Summ. J., “Resp.”).




1The Court in this order is referring to Plaintiff by her first name and first initial of her last
name in compliance with Internal Operating Procedure No. 22 of this Court.

2The Court substitutes Martin O’Malley for his predecessor, Kilolo Kijakazi, as the proper
defendant in this action pursuant to Federal Rule of Civil Procedure 25(d) (a public officer’s
successor is automatically substituted as a party).

3On August 16, 2022, by consent of the parties and pursuant to 28 U.S.C. § 636(c) and Local
Rule 73.1, this case was reassigned to the magistrate judge for all proceedings, including entry
of final judgment. (D.E. 8.)
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I.        Procedural History

          Plaintiﬀ applied for disability insurance beneﬁts and supplemental security

income on April 9, 2019, alleging disability beginning April 2, 2019. (R. 15.) The ALJ

held a hearing on April 27, 2021, and on May 14, 2021, the ALJ issued a written decision

denying Plaintiﬀ’s application, ﬁnding her not disabled under the Social Security Act

(the “Act”). 4 This appeal followed. For the reasons discussed herein, Plaintiﬀ’s motion is

denied and the Commissioner’s motion is granted.

    II.    The ALJ Decision

          The ALJ applied the Social Security Administration’s (“SSA”) ﬁve-step sequential

evaluation process to Plaintiﬀ’s claims. At Step One, the ALJ found that the Plaintiﬀ had

not engaged in Substantial Gainful Activity since her alleged onset date (R. 22.) 5 At Step

Two, the ALJ determined that Plaintiﬀ had the severe impairments of complex regional

pain syndrome (the “pain syndrome”)/degenerative join disease right foot; 6 asthma;

seizures; and migraines. (Id.) At Step Three, the ALJ found that Plaintiﬀ’s impairments


4The Appeals Council subsequently denied review of the opinion (R. 1), making the ALJ’s
decision the final decision of the Commissioner. Bertaud v. O’Malley, 88 F.4th 1242, 1244 (7th Cir.
2023).

5Plaintiff’s impairment stems from a September 2017 workplace accident at UPS, where a piece
of heavy machinery rolled over her foot. (Pl. Mem. at 2.)

6 Complex regional pain syndrome is a form of chronic pain that usually affects an arm or a leg.
It typically develops after an injury, surgery, stroke or heart attack. The pain is out of
proportion to the severity of the initial injury. https://www.mayoclinic.org/diseases-
conditions/crps-complex-regional-pain-syndrome/symptoms-causes/syc-20371151 visited on
11/14/24.

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alone or in combination did not meet or medically equal a Listing. (R. 23.) The ALJ

assessed Plaintiﬀ as having a residual functional capacity to perform sedentary work

except that she can “never climb ladders, ropes, or scaﬀolds but can occasionally climb

ramps and stairs with railing, occasional squatting and must avoid concentrated

exposure to pulmonary irritants and have no exposure to hazards including dangerous

moving machinery and unprotected heights, no driving, and no use of foot controls

with the right foot. [Plaintiﬀ] must avoid concentrated exposure to intense bright lights

and loud noise environments.” (R. 24.)

       At Step Four, the ALJ found Plaintiﬀ was unable to perform her past relevant

work as a fast-food restaurant manager, and at Step Five she found that there were

other jobs in the national economy that matched Plaintiﬀ’s residual functional capacity.

(R. 29-30.) Accordingly, the ALJ concluded that Plaintiﬀ was not disabled. (R. 30.)

III.   Legal Standard

       Under the Social Security Act, a person is disabled if she has an “inability to

engage in any substantial gainful activity by reason of any medically determinable

physical or mental impairment which can be expected to result in death or which has

lasted or can be expected to last for a continuous period of not less than twelve

months.” 42 U.S.C. § 423(d)(1)(a). In order to determine whether a plaintiﬀ is disabled,

the ALJ considers the following ﬁve questions in order: (1) Is the plaintiﬀ presently

unemployed? (2) Does the plaintiﬀ have a severe impairment? (3) Does the impairment


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meet or medically equal one of a list of speciﬁc impairments enumerated in the

regulations? (4) Is the plaintiﬀ unable to perform her former occupation? and (5) Is the

plaintiﬀ unable to perform any other work? 20 C.F.R. § 416.920(a)(4). An aﬃrmative

answer at either step three or step ﬁve leads to a ﬁnding that the plaintiﬀ is disabled.

Young v. Sec'y of Health & Human Servs., 957 F.2d 386, 389 (7th Cir. 1992). A negative

answer at any step, other than at step three, precludes a ﬁnding of disability. Id. The

plaintiﬀ bears the burden of proof at steps one to four. Id. Once the plaintiﬀ shows an

inability to perform past work, the burden then shifts to the Commissioner to show the

plaintiﬀ's ability to engage in other work existing in signiﬁcant numbers in the national

economy. Id.

       The Court does not “merely rubber stamp the ALJ's decision on judicial review.”

Prill v. Kijakazi, 23 F.4th 738, 746 (7th Cir. 2022) An ALJ’s decision will be aﬃrmed if it is

supported by “substantial evidence,” which means “such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.” Biestek v. Berryhill,

587 U.S. 97, 103 (2019). “[T]he threshold for such evidentiary suﬃciency is not high.” Id.

As the Seventh Circuit has made clear, ALJs are “subject to only the most minimal of

articulation requirements” and “need not address every piece or category of evidence

identiﬁed by a claimant, fully summarize the record, or cite support for every

proposition or chain of reasoning.” Warnell v. O’Malley, 97 F.4th 1050, 1053 (7th Cir.

2024). “All we require is that ALJs provide an explanation for how the evidence leads to


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their conclusions that is suﬃcient to allow us, as a reviewing court, to assess the validity

of the agency’s ultimate ﬁndings and aﬀord the appellant meaningful judicial review.”

Id. at 1054. The Seventh Circuit added that “[a]t times, we have put this in the shorthand

terms of saying an ALJ needs to provide a ‘logical bridge from the evidence to his

conclusion.’” Id. (citation omitted). The Seventh Circuit further has clariﬁed that district

courts, on review of ALJ decisions in Social Security appeals, are subject to a similar

minimal articulation requirement: “A district (or magistrate) judge need only supply the

parties . . . with enough information to follow the material reasoning underpinning a

decision.” Morales v. O’Malley, 103 F.4th 469, 471 (7th Cir. 2024). The district court’s

review of the ALJ’s opinion “will not reweigh the evidence, resolve debatable

evidentiary conﬂicts, determine credibility, or substitute its judgment for the ALJ’s

determination.” Chavez v. O’Malley, 96 F.4th 1016, 1021 (7th Cir. 2024) (internal

quotations omitted).

IV.    Analysis

       Plaintiﬀ makes four arguments in favor of remand: 1) the ALJ impermissibly

played doctor and cherry picked from the record, and 2) the ALJ failed to account for

Plaintiﬀ’s activities of daily living and daily pain. Each of these issues attacks the

Residual Functional Capacity level by accusing the ALJ of failing to accurately account

for the record evidence in one way or another. But as explained below, the Court ﬁnds




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that the ALJ supported her decision with substantial evidence and none of Plaintiﬀ’s

assignments of error undermine that ﬁnding to such an extent that remand is required.

       A.     The ALJ Supported Her Residual Functional Capacity Determination with
              Substantial Evidence.

       In assessing that Plaintiﬀ had a residual functional capacity for work at the

sedentary level with additional limitations, the ALJ considered both objective and

subjective evidence, and she substantially supported her ultimate conclusion that

Plaintiﬀ was not disabled. In making her determination, the ALJ ﬁrst acknowledged

Plaintiﬀ’s subjective allegations that pain in her right foot stemming from CRPS left her

unable to stand or walk for longer than an hour without experiencing extreme pain,

swelling, and tingling. (R. 25.) The ALJ also acknowledged Plaintiﬀ’s testimony that she

needed her husband to help her get in and out of the bathtub to take a shower, that she

no longer does laundry or chores, and that she elevates her foot most of the time when

sitting or reclining, but sometimes needs to put it down. (Id.) The ALJ further

mentioned Plaintiﬀ’s testimony that she gets her three children up in the morning, takes

them to school, takes out the dog, helps her children make their beds, goes to doctor’s

appointments, reads, and watches television. (Id.) Further, the ALJ acknowledged that

while Plaintiﬀ took the medication Gabapentin for pain, she had previously declined

injections because of a fear of needles, but as of the day of the hearing testiﬁed that she

was willing to try them. (Id.)



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        The ALJ’s consideration of the medical evidence in support of her residual

functional capacity assessment demonstrated that she reviewed and weighed both

evidence that supported Plaintiﬀ’s allegations as well as evidence that did not. 7

Speciﬁcally, the ALJ discussed:

    •   A November 2018 physical examination that revealed no swelling or sensory
        deﬁcits in the right foot and ankle and intact deep tendon reﬂexes, but that
        showed increased right foot pain with palpitation and pain in Plaintiﬀ’s arch,
        continued weakness of the right ankle, and atrophy present in the arch compared
        to Plaintiﬀ’s left foot (R. 26);

    •   Plaintiﬀ’s reports to her pain management doctor, Maxim Gorelik, M.D., that
        Gabapentin provided pain control and relief from burning and tingling in her
        foot, and her subsequent referral for physical therapy and an orthopedic shoe
        (Id.);

    •   April and June 2019 examinations with Dr. Gorelik that revealed Plaintiﬀ had a
        mildly antalgic gait (uneven walking pattern secondary to pain) and moderate
        tenderness in the right foot (Id.);

    •   Two consultative examinations Plaintiﬀ underwent in connection with her claim
        for beneﬁts in June and December 2019 which revealed variously that Plaintiﬀ
        walked with a slight limp, walked unassisted, was unable to walk on heels and
        toes but could partially squat and get on and oﬀ the examination table, and was
        able dress without assistance. Notes from these examinations revealed right foot
        tenderness, mostly normal range of motion, a reported history of right foot pain
        ranging from 7/10 to 10/10, and examination ﬁndings of right foot tingling to
        touch and pain on pressure. (R. 28.);

    •   A January 2020 neurology examination that revealed normal overall muscle tone,
        5/5 strength throughout, normal light touch pain sensation, and normal gait,
        coordination, and reﬂexes (R. 27.);



7Plaintiff does not argue that the ALJ erred in the consideration of her seizure disorder or
asthma or in how the ALJ accommodated those impairments in the Residual Functional
Capacity, and so the Court does not address that evidence.

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   •   An April 2020 physical therapy intake evaluation where Plaintiﬀ reported that
       the opioid Norco helped her pain and that Gabapentin and a muscle relaxant
       both helped as well (R. 26.);

   •   A number of records concerning Plaintiﬀ’s May 2020 physical therapy treatment,
       including notes showing Plaintiﬀ’s improved activity tolerance, improved
       tolerance to standing, overall improved function, and her presentation with “full
       pain-free AROM [active range of motion] in right ankle” (Id.);

   •   Several June 2020 examinations after Plaintiﬀ was in a car accident that revealed,
       variously, no swelling in her legs, normal range of motion but with tenderness
       generally present, and normal gait (R. 27); and,

   •   A January 2021 examination by Dr. Gorelik that revealed moderate pain in
       Plaintiﬀ’s right ankle with palpitation and mild swelling. (Id.)

       The ALJ additionally weighed the four medical opinions in the record as support

for her Residual Functional Capacity assessment. Notably, although both non-

examining state agency doctors supported their opinions with reviews of the medical

evidence and opined that Plaintiﬀ could work at the light exertional level, the ALJ

found the opinions unpersuasive because their ﬁndings were inconsistent with

Plaintiﬀ’s “continued right foot/ankle pain, [and] reported limitations with walking and

standing.” (R. 28-29.)

       Next, the ALJ found partially persuasive the November 2018 opinion of workers’

compensation doctor Alan League, M.D., which opined Plaintiﬀ could not be on her feet

more than one hour per day and restricted her to no heavy lifting, squatting, or high

impact activities. (R. 29.) Although the opinion was supported by the doctor’s

examination and review of the record, it was not completely consistent with the


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consultative examinations that showed Plaintiﬀ able to walk unassisted despite alleging

10/10 pain when not taking medications. (Id.) Further, the ALJ found Dr. League’s

opinion only partially persuasive because it was oﬀered prior to Plaintiﬀ’s alleged onset

date. (Id.) 8

        For similar reasons, the ALJ found unpersuasive the opinion of Ryan Holmbeck,

DPM. The ALJ noted that Dr. Holmbeck oﬀered his opinion before Plaintiﬀ’s alleged

onset date, and he did not oﬀer any detailed explanation for his conclusion that Plaintiﬀ

had a sedentary residual functional capacity. (Id.)

        As additional support for her residual functional capacity determination, the ALJ

pointed to Plaintiﬀ’s daily activities as she reported them in several diﬀerent settings:

(1) a function report she completed with her application for beneﬁts, (2) during her

consultative examinations, and (3) at medical and physical therapy examinations and

appointments. (R. 28.) Speciﬁcally, the ALJ noted that Plaintiﬀ self-reported that she

could perform personal care and grooming independently, cook meals, care for her

children, drive them to sports activities, perform household chores such as laundry and




8In her reply brief, Plaintiff argues for the first time that the ALJ erred in her evaluation of the
medical opinion and that Dr. League’s opinion is somehow entitled to different consideration
because it was rendered as part of her workers’ compensation case. (D.E. 23: Reply in Support of
Pl. Mot. for Summ. J., “Reply” at 1.) Arguments raised for the first time in a reply brief are waived,
and the Court will not consider them. Martin v. Kijakazi, 21-1920, 2022 WL 1681656, at *3 (7th Cir.
May 26, 2022).

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vacuuming, shop in stores while leaning on the cart for support, cared for eight children

part time,9 and could work with her husband on a new business “ﬂipping houses.” (Id.)

        Taken as whole, the ALJ supported with substantial evidence her determination

of Plaintiﬀ’s residual functional capacity and as explained below, none of Plaintiﬀ’s

assignments of error undermine the ALJ’s opinion.

        B.     The ALJ Did Not Cherry Pick the Record or Impermissibly Play Doctor.

        Faced with the ALJ’s thorough consideration of the medical evidence, Plaintiﬀ

contends the ALJ nonetheless erred both by cherry picking the record to focus only on

evidence of improvement and by “playing doctor” when analyzing Plaintiﬀ’s

limitations caused by her pain syndrome. After reviewing the record, the Court ﬁnds

these arguments unpersuasive.

        Plaintiﬀ contends that because her asserted pain syndrome is “a not well

understood phenomenon that uses a number of varied treatments,” the ALJ must have

played doctor in concluding that Plaintiﬀ’s particular treatments up to the day of the

hearing (pain medication, orthopedic shoe, and physical therapy) were “routine and



9 Plaintiff argues that the ALJ’s reference to “eight children” means the ALJ erroneously thought
that Plaintiff actually had eight children of her own, and that her reliance on that incorrect fact
is a basis for remand. But it is clear in the ALJ’s opinion that she knew Plaintiff had only three
children of her own, stating “at the hearing, the claimant testified she lives with her husband
and her three children,” before listing the daily activities Plaintiff performed with those children
(getting them up in the mornings, driving them to school, helping them make their beds, going
to their sporting events). (R. 25.) In context, it seems clear that the reference to eight children
was a reference to the children’ Plaintiff cares for as a self-employed day care worker. (See Pl.
Mem. at 2.)

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conservative.” (Pl. Mem. at 6.) The ALJ described Plaintiﬀ’s treatment as routine and

conservative because she observed that “there ha[d] been no surgery and no injections.”

(R. 26). Her characterization was thus merely descriptive; the ALJ “was just considering

Plaintiﬀ's condition and treatment – as required – and providing additional facts in

support of her credibility analysis.” Deborah M. v. Saul, 994 F.3d 785, 790 (7th Cir.

2021). 10

         ALJs may “appropriately consider[ ] and weigh[ ] the conservative treatment” a

claimant receives, even if the Plaintiﬀ’s doctor did not use the term “conservative” in

the treatment records or opinion. Prill v. Kijakazi, 23 F.4th 738, 749-50 (7th Cir. 2022)

(aﬃrming ALJ's decision denying beneﬁts, which relied on the determination that the

claimant's “treatment—injections, orthotics, and physical therapy—was conservative”).

See also Hohman v. Kijakazi, 72 F.4th 248, 252 (7th Cir. 2023) (upholding ALJ's

determination that the claimant's “course of treatment has been conservative,” as

“medications eﬀectively alleviated her pain symptoms, and the record lacked evidence

that she had sought more aggressive treatment”).

         Plaintiﬀ acknowledges that in addition to treatments such as physical therapy,

psychotherapy, and medication, there are “also more extreme treatments including the



10It is accurate that as of the date of the hearing, Plaintiff had not undergone any pain injections
to treat her CRPS. Indeed, she testified at the hearing and the ALJ acknowledged in her opinion
that Plaintiff had previously been afraid of needles but had recently decided to try an injection,
and Plaintiff testified she was going to receive her first one the day following the hearing. There
is no evidence that Plaintiff actually did begin receiving pain injections, however.

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use of spinal cord stimulator or spinal-ﬂuid drug pumps” that may be also used to treat

her pain syndrome. (Pl. Mem. at 6.) Plaintiﬀ admits that “[w]e do not know if more

extreme treatment such as a spinal cord stimulator would be eﬀective. . .” (Pl. Mem. at

6-7.) By these statements, Plaintiﬀ acknowledges that the treatment received to date is

not the most aggressive possible treatment, and the ALJ’s use of the term “conservative”

was not in error.

         Next, Plaintiﬀ asserts that the ALJ cherry picked from the record to focus only on

evidence of Plaintiﬀ’s improvement. (Pl. Mem. at 7.) That assertion is belied by the ALJ’s

thorough discussion of the record. As described above, the ALJ considered and weighed

a broad range of medical, subjective, opinion, and daily activity evidence before

determining that Plaintiﬀ was not disabled. “This explicit weighing is precisely within

the purview of the ALJ—and it is not our place to reweigh evidence, even where

reasonable minds might disagree about the outcome.” Bakke v. Kijakazi, 62 F.4th 1061,

1068 (7th Cir. 2023).

         Indeed, in arguing that the ALJ erred in her review of the evidence, Plaintiﬀ does

exactly what she accuses the ALJ of doing and cherry picks minor bits of evidence from

just a few medical records to attempt to show that the ALJ missed critical information or

otherwise focused only on information of medical improvement. 11 But an ALJ need not



11As just one example, Plaintiff contends that the ALJ erred by stating that she testified she can
perform personal care and grooming independently, when she actually testified to the “exact


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discuss every detail in the record as it relates to every factor. Grotts v. Kijakazi, 27 F.4th

1273, 1278–79 (7th Cir. 2022). Summaries of medical evidence, while deﬁnitionally

“partial and selective,” are appropriate. Id.

       C.      The ALJ Did Not Err in Her Consideration of Plaintiﬀ’s Activities of Daily
               Living and Pain.

       The ALJ properly considered both her subjective allegations of pain and her

testimony about her daily activities before determining that Plaintiﬀ’s pain was not as

severe as she alleged. When assessing a claimant's symptoms, “an ALJ must consider

several factors, including the claimant's daily activities, her level of pain or symptoms,

aggravating factors, medication, treatment, and limitations, ... and justify the ﬁnding

with speciﬁc reasons.” Villano v. Astrue, 556 F.3d 558, 562 (7th Cir. 2009); Charles B. v.

Saul, No. 19-cv-1980, 2020 WL 6134986, at *6 (N.D. Ill. Oct. 19, 2020). Importantly, as

long as an ALJ gives speciﬁc reasons supported by the record, “we will not overturn a

credibility determination unless it is patently wrong.” Deborah M. v. Saul, 994 F.3d 785,

789 (7th Cir. 2021). The ALJ’s credibility analysis met this standard.

       In discounting Plaintiﬀ's testimony, the ALJ adhered to the regulation mandating

consideration of whether Plaintiﬀ's symptoms align reasonably with objective medical




opposite.” (Pl. Mem. at 9). A careful review of the ALJ’s decision reveals that her consideration
of Plaintiff’s activities of daily living relied not on Plaintiff’s testimony but on Plaintiff’s own
function report and on the information she gave to the consultative medical examiner and at
medical appointments — records ignored in Plaintiff’s moving papers. (Id. at 9-10.) There is no
error in the ALJ’s weighing of Plaintiff’s various subjective statements about her abilities.

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evidence and other relevant factors. See 20 C.F.R. § 404.1529(a). Essentially, Plaintiﬀ

argues that the ALJ erred by discounting her testimony about the intensity of her pain

and that she needed to elevate her foot throughout the day. But as described above, the

ALJ acknowledged both objective and subjective evidence of Plaintiﬀ’s pain complaints,

medical records and examinations, her conservative treatment, the medical opinions,

and Plaintiﬀ’s daily activities before determining that her subjective symptoms were not

as severe as alleged. The ALJ’s assessment was not patently wrong. See Deborah M., 944

F.3d at 789,

       With respect to Plaintiﬀ’s speciﬁc allegation about her need to elevate her foot,

the ALJ acknowledged Plaintiﬀ’s testimony. (R. 25.) At the hearing, Plaintiﬀ’s attorney

told the ALJ that the latest medical record recommending that Plaintiﬀ elevate her foot

was from July 2018 and that the attorney would get the cite for the ALJ. (R. 68-69.)

However, the Court has found no evidence that Plaintiﬀ ever provided such a citation

to the ALJ, and Plaintiﬀ points to no evidence in her briefs to support a medical

requirement that she elevate her foot. When balanced against the substantial evidence

the ALJ oﬀered in support of her Residual Functional Capacity determination, there is

no error. See, e.g., Marcelina R. v. O'Malley, No. 23-CV-181, 2024 WL 3581742, at *6 (N.D.

Ill. July 30, 2024) (No error where ALJ provided multiple reasons and adhered to

regulations when discounting Plaintiﬀ's subjective complaint of needing to lie down

during the day due to CRPS).


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                                   CONCLUSION


      For the foregoing reasons, the Court denies Plaintiﬀ’s motion for summary

judgment seeking to reverse and remand the ALJ’s decision (D.E. 14) and grants

Defendant’s motion for summary judgment. (D.E. 20).




SO ORDERED.

                                       ENTER:



                                       ________________________________

                                       LAURA K. MCNALLY

                                       United States Magistrate Judge



DATED: November 26, 2024




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